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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATE OF AMERJCA,                           Case No.: 1:21-cr-00392-RCL-6
                Plaintiff,

vs.                                                ORDER GRANTING APPOINTMENT OF
                                                   COUNSEL UNDER THE CRJMINAL
RONALD MELE,                                       JUSTICE ACT (PROPOSED)

               Defendant

         ORDER GRANTING APPOINME T OF CJA COUNSEL (PROPOSED)

        Before the court is Defendant, Ronald Mele's amended motion [ ] to appoint his counsel,

Mr. Steven C. Bailey, as his counsel under the Criminal Justice Act ("CJA"). In June 2021,

Defendant retained Mr. Bailey as his counsel to represent him in this criminal case. Mr. Mele

was te1minated from his employment and is at this point underemployed with his cunent

employment and contends that he no longer can pay Mr. Bailey. Defendant provided a financial

affidavit in support of his request, which the court will file under seal. Upon Consideration of

defendant's motion, it is hereby

        ORDERED that Steven C. Bailey is appointed as counsel for defendant under the CJA,

to be effective representation from this date forward. Pursuant to 18 U.S.C.§ 3006A(c) & (f), at

the conclusion of this case the Comi will determine whether Defendant has funds available to

pay for part or all of the representation, and if so, the amount of such funds the Defendant shall

pay towards the representation.

        IT IS SO ORDERED.



Date:
                                                                     Royce C. Lamberth
                                                                     United States District Judge
